                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF IOWA
                            CEDAR RAPIDS DIVISION



 UNITED STATES OF AMERICA,
                 Plaintiff,                                  No. CR 06-0145
 vs.                                   ORDER REGARDING
                                  MAGISTRATE’S REPORT AND
 BRIAN DARNELL WHITING,                RECOMMENDATION
                                   CONCERNING DEFENDANT’S
          Defendant.                      GUILTY PLEAS
                     ____________________


                        I. INTRODUCTION AND BACKGROUND
         On November 16, 2006, a five-count Indictment was returned against the defendant
Brian Darnell Whiting. On February 7, 2007, the defendant appeared before United States
Magistrate Judge John A. Jarvey and entered pleas of guilty to Counts 1, 2, 3, 4 and 6 of
the Indictment. On February 7, 2007, Judge Jarvey filed a Report and Recommendation
in which he recommended that defendant’s guilty pleas be accepted. No objections to
Judge Jarvey's Report and Recommendation were filed. The court, therefore, undertakes
the necessary review of Judge Jarvey's recommendation to accept defendant’s pleas in this
case.


                                       II. ANALYSIS
         Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
                A judge of the court shall make a de novo determination of
                those portions of the report or specified proposed findings or
                recommendations to which objection is made. A judge of the
                court may accept, reject, or modify, in whole or in part, the

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             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Jarvey's findings and conclusions, that there is no ground to reject or modify
them. Therefore, the court accepts Judge Jarvey's Report and Recommendation of
February 7, 2007, and accepts defendant’s pleas of guilty in this case to Counts 1, 2, 3,
4 and 6 of the Indictment.
      IT IS SO ORDERED.
      DATED this 22nd day of February, 2007.




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